               Case 20-17181-LMI        Doc 83     Filed 06/14/22     Page 1 of 2




                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION


IN RE:                                             Case No.20-17181-LMI
                                                   Chapter 13
ROSA M GONZALEZ AKA ROSA
GONZALEZ AKA ROSA MARGARITA
GONZALEZ AKA ROSA MARGARITA
GONZALEZ VIGOA AKA ROSA
GONZALEZ VIGOA AKA ROSA M
GONZALEZ VIGOA and SONIA C SOLA
AKA SONIA SOLA AKA SONIA CARIDAD
SOLA AKA SONIA DE LA CARIDAD SOLA,

            Debtors.
______________________________________/

                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the Order Granting Motion
Confirming the Automatic Stay is Not In Effect as to Debtor [D.E. #82] for the Motion for Order
Confirming that the Automatic is Not In Effect [D.E. #75] filed by Bank of America, N.A. was
served via U.S. Mail, first-class postage prepaid, on June 13, 2022, upon:

DEBTORS

Rosa M Gonzalez
Sonia C Sola
1790 W 60th Street #5
Hialeah, FL 33012-6848


The following CM/ECF users were served electronically on June 13, 2022.

DEBTORS ATTORNEY
(via electronic notice)

Jose A. Blanco, Esq
jose@blancopa.com
               Case 20-17181-LMI       Doc 83   Filed 06/14/22   Page 2 of 2




TRUSTEE
(via electronic notice)

Nancy K. Neidich
e2c8f01@ch13miami.com

UNITED STATES TRUSTEE
(via electronic notice)

Department of Justice
Southern District of Florida - Miami
Office of the US Trustee
USTPRegion21.MM.ECF@usdoj.gov


                                                 Respectfully Submitted,

                                                 /s/ Jennifer Laufgas
                                                 Jennifer Laufgas
                                                 Bar No.: 56181
                                                 Aldridge Pite, LLP
                                                 Attorney for Movant
                                                 Fifteen Piedmont Center
                                                 3575 Piedmont Road, N.E., Suite 500
                                                 Atlanta, GA 30305
                                                 Phone: (404) 994-7400
                                                 Fax: (619) 590-1385
                                                 Email: jlaufgas@aldridgepite.com
